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UNITED STATES DISTRICT COURT aogplted States Cou,ts
soUTHERN DISTRICT oF TEXAS "°"' B,'§g'gf of rean
HOUSTON DIVISION ,
OCT 1 1 2018
UNITED STATES OF AMERICA §
§ °"W-Brw¢y '
v. § CRIMINAL No. 'a'"'"°""
§ l
KAMALDEEP GANDHI, §
Defendant. § 1 8 CR 6 0 §
_[NFORMATION
The UNITED STATES ATTORNEY charges that:
Count One
(Conspiracy to Commit Offenses Against the United States)
l. Beginning in or around March 2012 and continuing through in or around March

2014, in the Southern District of Texas and elsewhere,

KAMALDEEP GANDHI,

the defendant, did willhilly, that is, with the intent to further the objects of the conspiracy,

knowingly combine, conspire, confederate, and agree with others known and unknown to commit

certain offenses against the United States, that is:

a. wire fraud, that is, to knowingly and with the intent to defraud, having

devised and intending to devise a scheme and artifice to defraud, and for obtaining money

and property by means of materially false and fraudulent pretenses, representations, and

promises, knowingly transmit

communication in interstate and

and cause to be transmitted, by means of wire

foreign commerce, writings, signs, signals, pictures, and

sounds for the purpose of executing the scheme and artifice, in violation of Title 18, United

States Code, Section 1343;

 

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b. commodities fraud, that is, to knowingly and with the intent to defraud,

execute and attempt to execute al

scheme and artifice to defraud a person in connection with

a commodity for future deliveryi and to obtain, by means of materially false and fraudulent

pretenses, representations, andl

promises, money and property in connection With the

purchase and sale of a commodity for future delivery, that is, E-Mini Dow futures contracts,

E-Mini NASDAQ 100 (“E-Mini NASDAQ”) futures contracts, and E-Mini S&P 500

(“E-Mini S&P”) futures contra<:ts, in violation of Title 18, United States Code, Section

l348;and

c. spoofrng, that is,

to knowingly engage in trading, practice, and conduct, on

and subject to the rules of registered entities, namely the Chicago Mercantile Exchange

(“CME”) and the Chicago Board of Trade (“CBOT”), that was “spoofrng,” that is, bidding

and offering With the intent, at the time the bid and offer were entered, to cancel the bid

and offer before execution, in violation of Title 7, United States Code, Sections 6c(a)(5)(C)

and l3(a)(2).
Purn

2. lt was the purpose of t

ose of the Conspiracl

he conspiracy for GANDHI and his co-conspirators to

deceive other market participants by inj acting materially false and misleading information into the

E-Mini Dow, E-Mini NASDAQ, and

E-Mini S&P futures contracts markets that indicated

increased supply or demand in order to induce market participants to buy or to sell futures contracts

at prices, quantities, and times that the

market participants likely would not have otherwise, in

order to make money and avoid losses for GANDHI, his co-conspirators, and Trading Firm A.

 

following manners and means:

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Manner agd Means of the Consgiracy

3. lt was part of the conspiracy that GANDHI and his co-conspirators used the

a. During and in

furtherance of the conspiracy, GANDHI and his

co-conspirators, including Trad er 2 and Trader 3, in order to make money for themselves

and for Trading Firm A, and acting within the scope of their employment at Trading

Firm A, and with the knowledge and consent of Trading Firm A, placed and caused to be

placed electronic trading orders to buy or to sell E-Mini Dow, E-Mini NASDAQ, and

E-Mini S&P futures contracts that GANDHI and his co-conspirators intended, at the time

the orders were placed, to cancel before execution (the “Fraudulent Orders”).

b. At all times during and in furtherance of the conspiracy, GANDHI (i) was

an employee of Trading Firm A,
Firm A, and (iii) acted within

Firm A.

(ii) acted with the intent, at least in part, to benefit Trading

the scope of his authority and employment at Trading

c. The Fraudulent Orders were placed on the CME and CBOT, through the

CME Group’s electronic trading platform.

d. ln placing the
intended to deceive other mark€
information into the markets for

contracts that indicated increa

Fraudulent Orders, GANDHI and his co-conspirators
t participants by injecting materially false and misleading
E-Mini Dow, E-Mini NASDAQ, and E-Mini S&P futures

sed supply or demand, all in order to induce market

participants to buy or to sell futures contracts at prices, quantities, and times that the market

participants likely would not have otherwise, in order make money and avoid losses for

GANDHI, his co-conspirators, and Trading Firrn A.

 

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e. The Fraudulent

Orders caused wire communications that traveled in

interstate commerce because the conspirators executed such wire communications from

locations outside of lllinois, whi

:h ultimately traveled to Trading Firm A’s servers, and the

CME Group’s servers, located in the Northern District of Illinois. The information

conveyed in these wires Was then transmitted via interstate wire to market participants

located in, among other places, the Southem District of Texas.

4. In furtherance of the c

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onspiracy and to effect its unlawful objects, GANDHI

committed and caused to be committed, in the Southern District of Texas and elsewhere, the

following overt acts, among others:

a. On or about chember 25, 2013, at approximately 10:41:48.644 a.m.

Central Time, GANDHI placed
futures contracts at the price of §
b. On or about Nc

Central Time, GANDHI placed

seven Fraudulent Orders to sell a total of 181 E-Mini S&P
51,804.75; and
vember 25, 2013, at approximately 10:41:48.645 a.m.

15 Fraudulent Orders to sell a total of 419 E-Mini S&P

 

futures contracts at the price of T1,804.75.

All in violation of Title 18, Uniti

 

ed States Code, Section 371.

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j Count Two
(Conspiracy to Comiinit Offenses Against the United States)

5. Beginning in or around May 2014 and continuing through in or around October
2014, in the Southem District of Texas land elsewhere,
KAMALDEEP GANDHI,
the defendant, did willfully, that is, with the intent to further the objects of the conspiracy,
knowingly combine, conspire, confedeiipte, and agree with others known and unknown to commit
certain offenses against the United Statés, that is:

a. wire fraud, that is, to knowingly and with the intent to defraud, having
devised and intending to devise a scheme and artifice to defraud, and for obtaining money
and property by means of materially false and fraudulent pretenses, representations, and
promises, knowingly transmit and cause to be transmitted, by means of wire
communication in interstate and foreign commerce, writings, signs, signals, pictures, and
sounds for the purpose of executing the scheme and artifice, in violation of Title 18, United
States Code, Section 1343 ;

b. commodities fraud, that is, to knowingly and with the intent to defraud,
execute and attempt to execute a scheme and artifice to defraud a person in connection with
a commodity for future delivery and to obtain, by means of materially false and fraudulent
pretenses, representations, and promises, money and property in connection with the
purchase and sale of a commodity for future delivery, that is, E-Mini S&P futures contracts,
in violation of Title 18, United States Code, Section 1348 ; and

c. spoofing, that is, to knowingly engage in trading, practice, and conduct, on

and subject to the rules of a registered entity, namely the CME, that was “spoofing,” that

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is, bidding and offering with thel

intent, at the time the bid and offer were entered, to cancel

the bid and offer before execution, in violation of Title 7, United States Code, Sections

6c(a)(5)(c) and iz(a)(z).

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Purpose of the Conspiracv

6. lt was the purpose of 1

he conspiracy for GANDHI and his co-conspirators to

deceive other market participants by injecting materially false and misleading information into the

E-Mini S&P futures contracts markets that indicated increased supply or demand in order to induce

market participants to buy or to sell futures contracts at prices, quantities, and times that the market

participants likely would not have otherwise, in order to make money and avoid losses for

GANDHI, his co-conspirators, and Trading Firm B.

Manner and Means of the Conspiracy

7. lt was part of the cons
following manners and means:

a. During and in

piracy that GANDHI and his co-conspirators used the

furtherance of the conspiracy, GANDHI and his

co-conspirators, including Trader 4, in order to make money for themselves and for Trading

Firm B, and acting within the sc

ope of their employment at Trading Firm B, and with the

knowledge and consent of Trading Firm B, placed and caused to be placed electronic

trading orders to buy or to sell

conspirators intended, at the tim

E-Mini S&P futures contracts that GANDHI and his co-

e the orders Were placed, to cancel before execution.

b. At all times during and in furtherance of the conspiracy, GANDHI (i) was

an employee of Trading Firm B,

Firm B, and (iii) acted within the

 

(ii) acted with the intent, at least in part, to benefit Trading

scope of his authority and employment at Trading Firm B.

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c. The Fraudulent Orders were placed on the CME through the CME Group’s
electronic trading platform.

d. ln placing the :Fraudulent Orders, GANDHI and his co-conspirators
intended to deceive other markelt participants by injecting materially false and misleading
information into the markets fdr E-Mini S&P futures contracts that indicated increased
supply or demand, all in order1 to induce market participants to buy or to sell futures
contracts at prices, quantities, arid times that the market participants likely would not have
otherwise, in order make money and avoid losses for GANDHI, his co-conspirators, and
Trading Firm B.

e. The Fraudulent 10rders caused wire communications that traveled in

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interstate commerce because thje conspirators executed such wire communications from
locations outside of lllinois, whit:h ultimately traveled to Trading Firm B’s servers, and the
CME Group’s servers, located in the Northern District of lllinois. The information

conveyed in these wires was tlien transmitted via interstate wire to market`participants
located in, among other places, the Southem District of Texas.
Overt Acts

8. ln furtherance of the cbnspiracy and to effect its unlawful objects, GANDHI
committed and caused to be committqd, in the Southem District of Texas and elsewhere, the

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following overt acts, among others:
a. On or about September 25, 2014, at approximately 12:44:36.390 a.m.

Central Time, GANDHI placed one Fraudulent Order to sell seven E-Mini S&P futures

contracts at the price of $ l ,963.§0;

By:

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b. On or about September 25, 2014, at approximately 12:44:36.391 a.m.

Central Time, GANDHI placed ll Fraudulent Orders to sell a total of 123 E-Mini S&P

futures contracts at the price of 1$1,963.50; and

c. On or about September 25, 2014, at approximately 12:44:36.392 a.m.

Central Time, GANDHI placed 11 Fraudulent Orders to sell a total of 120 E-Mini S&P

futures contracts at the price of 551,963.50.

All in violation of Title 18, United States Code, Section 371.

SANDRA MOSER
Acting Chief, Fraud Section

MARK CiPoLLETTi

 

JEFF LE RICHE

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Trial Attorneys

Fraud Section j
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By:

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